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       Plaintiff (as Personal Representative of the Estate of 9/11 Decedent)                                                   9/11 Decedent                                                                Claim Information                                  Pain & Suffering Damages                                                                Economic Damages

                                                                                                                                             Nationality on    Date of                                                                                                                                                                                                                      Prior
             First             Middle                 Last                 Suffix       First        Middle         Last            Suffix                                9/11 Site     Case             Complaint              Amendments & Substitutions   Prior Award       Amount                                            Report                                   Date of Report             Amount
                                                                                                                                                 9/11          Death                                                                                                                                                                                                                       Award

1       John; Elizabeth                          Boffa; Murphy                          Mary       Catherine        Boffa                         US          9/11/2001      NY       19cv11865       19cv11865, 1 at 1                 7224 at 3               N/A             N/A           See Exhibit C‐3a to Declaration of Jerry S. Goldman, Esq. at page 1.           3/1/24         N/A      $1,882,878.00

2               Eric                                 Johnson                             Janice      Juloise        Brown                         US          9/11/2001      NY       19cv11767       19cv11767, 5 at 2               7529 at 3, 7575           N/A              N/A          See Exhibit C‐3a to Declaration of Jerry S. Goldman, Esq. at page 24.          2/1/24         N/A       $965,897.00
3           Stefanie                                   Oliva                              Alex          F.         Ciccone                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 8                    N/A                  N/A              N/A          See Exhibit C‐3a to Declaration of Jerry S. Goldman, Esq. at page 47.          6/1/24         N/A      $4,801,877.00
4             James               E.                 DiChiaro                           Patricia    Florence       DiChiaro                       US          9/11/2001      NY       18cv11837       18cv11837, 1 at 7                    N/A                  N/A              N/A          See Exhibit C‐3a to Declaration of Jerry S. Goldman, Esq. at page 70.          3/1/24         N/A       $649,279.00
5            Nichole                           Brathwaite‐Dingle                        Jeffrey        Mark          Dingle                       US          9/11/2001      NY       22cv05193       22cv05193, 1 at 6                    N/A                  N/A              N/A          See Exhibit C‐3a to Declaration of Jerry S. Goldman, Esq. at page 94.          5/1/24         N/A      $4,050,341.00
6              John               G.                   Duffy                         Christopher     Michael         Duffy                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 8                    N/A                  N/A              N/A          See Exhibit C‐3a to Declaration of Jerry S. Goldman, Esq. at page 118.         6/1/24         N/A      $1,884,232.00
7             Lynda               T.                 Scarcella                            Paul      Matthew           Fiori                       US          9/11/2001      NY       22cv05193       22cv05193, 1 at 5                    N/A                  N/A              N/A          See Exhibit C‐3a to Declaration of Jerry S. Goldman, Esq. at page 141.         3/1/24         N/A      $2,830,495.00
8             Peter                                    Frank                              Peter    Christopher       Frank                        US          9/11/2001      NY       20cv09376       20cv09376, 1 at 7               7457 at 3, 7475           N/A              N/A          See Exhibit C‐3a to Declaration of Jerry S. Goldman, Esq. at page 164.         3/1/24         N/A      $7,898,126.00
9            Mindy                                    Gabler                            Fredric        Neal         Gabler                        US          9/11/2001      NY       19cv11865       19cv11865, 1 at 2                    N/A                  N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 1.           3/1/24         N/A     $87,427,751.00
10           Cynthia                                  Gomes                             Dennis        James         Gomes                         US          9/11/2001      NY       22cv05193       22cv05193, 1 at 6                    N/A                  N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 26.          6/1/24         N/A      $1,674,708.00
11           Andrea                                   Hannan                            Michael     Lawrence       Hannan                         US          9/11/2001      NY       21cv10239       21cv10239, 1 at 4                    N/A                  N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 49.          5/1/24         N/A      $3,686,780.00
12            Peggy               H.                  Taylor                            Charles      Gregory          John                        US          9/11/2001      NY       18cv12277       18cv12277, 1 at 2               8075 at 3, 8080           N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 73.          6/1/24         N/A       $422,577.00
13           Dennis                                  Ketcham                            Douglas      Darrell       Ketcham                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 8                    N/A                  N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 96.          5/1/24         N/A      $5,921,873.00
14            Susan              M.                     King                              Amy          Ruth           King                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 1                    N/A                  N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 119.         5/1/24         N/A       $698,802.00
15             Joan                                   Kirwin                             Glenn        Davis         Kirwin                        US          9/11/2001      NY       20cv09387       20cv09387, 1 at 2                    N/A                  N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 142.         3/1/24         N/A     $21,209,440.00
16          Michael               R.                    Kuo                            Frederick                      Kuo                         US          9/11/2001      NY       22cv05193       22cv05193, 1 at 9               8725 at 3, 8728           N/A        $   2,000,000.00                                        N/A                                        N/A           N/A               N/A
17             Elisa              P.                  Malani                            Michael     William         Lomax                         US          9/11/2001      NY       18cv11875       18cv11875, 6 at 3                    N/A                  N/A        $   2,000,000.00                                        N/A                                        N/A           N/A               N/A
18            Rosie                            Matricciano‐Vetere                     Marcellus                  Matricciano                      US          9/11/2001      NY       21cv10239      21cv10239, 1 at 5‐6              7878 at 3, 7889           N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 168.         3/1/24         N/A      $6,105,301.00
19           Colleen                             Micciulli‐Foley                        William     Edward         Micciulli                      US          9/11/2001      NY       20cv09387       20cv09387, 1 at 4                    N/A                  N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 192.         3/1/24         N/A     $58,976,805.00
20          Shannon                                   Moran                             Gerard      Patrick         Moran                         US          9/11/2001      VA       18cv11876       18cv11876, 1 at 2                    N/A                  N/A              N/A          See Exhibit C‐3b to Declaration of Jerry S. Goldman, Esq. at page 217.         2/1/24         N/A      $1,480,046.00
21          Lorraine                                  Nedell                           Laurence     Florian         Nedell                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 2                    N/A                  N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 1.           3/1/24         N/A      $1,025,805.00
22            Irene                                   Lavelle                             Luke      Gerard             Nee                        US          9/11/2001      NY       19cv11865       19cv11865, 1 at 3                    N/A                  N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 24.          5/1/24         N/A      $2,264,288.00
23            Lyndsi                                  Nelson                             Peter       Allen          Nelson                        US          9/11/2001      NY       18cv12277       18cv12277, 1 at 7               7539 at 3, 7565           N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 47.          1/1/24         N/A      $4,302,276.00
24             Man                                      Ngo                              Nancy       Yuen             Ngo                         US          9/11/2001      NY       18cv05321       18cv05321, 6 at 9                    N/A                  N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 65.          2/1/24         N/A      $4,960,160.00
25            Linda                                 Pohlmann                            William     Howard        Pohlmann                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 9               8545 at 3, 8565           N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 89.          6/1/24         N/A      $2,522,655.00
26            Masia             Shurla                  Riley                             Scott       Alan          Powell                        US          9/11/2001      VA       22cv05193       22cv05193, 1 at 3                    N/A                  N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 112.         6/1/24         N/A       $822,615.00
27     Vernon; Vernessa           A.;           Richard; Richard               II;      Vernon       Allen          Richard                       US          9/11/2001      NY       18cv12277      18cv12277, 1 at 10               5548 at 5, 5641           N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 135.         2/1/24         N/A      $2,133,997.00
28          Thomas                                   Kelleher                          Stephen       Louis           Roach                        US          9/11/2001      NY       22cv05193      22cv05193, 1 at 10                    N/A                  N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 153.         6/1/24         N/A     $20,611,802.00
29            Tracy                               Rowenhorst                            Edward        Veld       Rowenhorst                       US          9/11/2001      VA       18cv12387       18cv12387, 1 at 1               7463 at 3, 7478           N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 175.         3/1/24         N/A      $3,332,817.00
30          Amanda                                    Ruddle                             David      Michael         Ruddle                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 3               9587 at 3, 9600           N/A        $   2,000,000.00   See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 198.         5/1/24         N/A      $3,043,665.00
31           Brittley                                  Wise                             Richard    Lawrence        Salinardi                      US          9/11/2001      NY       22cv05193      22cv05193, 1 at 5‐6                   N/A                  N/A              N/A          See Exhibit C‐3c to Declaration of Jerry S. Goldman, Esq. at page 222.         3/1/24         N/A      $2,710,437.00
32         Raymond                                   Sanchez                   Jr.     Raymond                     Sanchez                        US          9/11/2001      NY       19cv11865       19cv11865, 1 at 5               9261 at 3, 9263           N/A              N/A          See Exhibit C‐3d to Declaration of Jerry S. Goldman, Esq. at page 1.           4/1/24         N/A       $786,657.00
33              Lisa              A.                  Schunk                            Edward      William         Schunk                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 5                    N/A                  N/A              N/A          See Exhibit C‐3d to Declaration of Jerry S. Goldman, Esq. at page 24.          6/1/24         N/A      $1,093,245.00
34   Toolsiedai a/k/a Ruby                   Seepersaud a/k/a Awan                    Khamladai     Khami            Singh                        US          9/11/2001      NY       20cv10460       20cv10460, 1 at 6                    N/A                  N/A              N/A          See Exhibit C‐3d to Declaration of Jerry S. Goldman, Esq. at page 47.          3/1/24         N/A      $1,718,801.00
35            Edith                                  Skrzypek                             Paul      Albert         Skrzypek                       US          9/11/2001      NY       22cv05193       22cv05193, 1 at 6                    N/A                  N/A              N/A          See Exhibit C‐3d to Declaration of Jerry S. Goldman, Esq. at page 70.          3/1/24         N/A      $2,018,258.00
36           Stacey                                    Stone                             Lonny        Jay            Stone                        US          9/11/2001      NY       20cv10460       20cv10460, 1 at 7                    N/A                  N/A              N/A          See Exhibit C‐3d to Declaration of Jerry S. Goldman, Esq. at page 93.          5/1/24         N/A      $2,195,640.00
37             June                              Pietruszkiewicz                         James      Joseph          Suozzo                        US          9/11/2001      NY       22cv05193      22cv05193, 1 at 11                    N/A                  N/A              N/A          See Exhibit C‐3d to Declaration of Jerry S. Goldman, Esq. at page 117.         6/1/24         N/A      $2,702,369.00
38            Janice                                   Dukes                            Donnie      Brooks          Taylor                        US          9/11/2001      NY       19cv11865      19cv11865, 1 at 7‐8              7505 at 3, 7511           N/A              N/A          See Exhibit C‐3d to Declaration of Jerry S. Goldman, Esq. at page 140.         5/1/24         N/A      $1,561,953.00
39             Marc                                 Weingard                              Scott     Jeffrey       Weingard                        US          9/11/2001      NY       20cv10460       20cv10460, 1 at 8                    N/A                  N/A              N/A          See Exhibit C‐3e to Declaration of Jerry S. Goldman, Esq. at page 1.           6/1/24         N/A      $1,497,169.00
40         Loubertha                                 Williams                         Jacqueline                     Young                        US          9/11/2001      NY       22cv05193       22cv05193, 1 at 2                    N/A                  N/A              N/A          See Exhibit C‐3e to Declaration of Jerry S. Goldman, Esq. at page 24.          6/1/24         N/A       $750,510.00
41            Lillian                               Zambrana                             Edwin        Jose        Zambrana                        US          9/11/2001      NY       18cv07306      18cv07306, 1 at 15                    N/A                  N/A              N/A          See Exhibit C‐3e to Declaration of Jerry S. Goldman, Esq. at page 47.          3/1/24         N/A       $945,489.00




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    (Plaintiff, as Personal Representative of the Estate
                                                                                 Plaintiff                                                               9/11 Decedent                                                          Claim Information                                             Solatium Damages
                     of Solatium Plaintiff)

                                                                                                         Nationality on                                                  Nationality on    Date of                                                   Amendments &                                                 Prior
        First       Middle          Last         Suffix      First     Middle           Last    Suffix                     First    Middle     Last            Suffix                                 9/11 Site     Case           Complaint                             Relationship       Documentation                  Amount
                                                                                                             9/11                                                            9/11          Death                                                      Substitutions                                              Award

1                                                          Stephen     James          Carson                  US          James     Joseph    Carson            Jr.           US          9/11/2001      NY       18cv05320    18cv05320, 7 at 11       9722 at 3           Sibling              N/A              N/A      $4,250,000.00


2                                                           William    Joseph         Carson                  US          James     Joseph    Carson            Jr.           US          9/11/2001      NY       18cv05320    18cv05320, 7 at 11       9722 at 3           Sibling              N/A              N/A      $4,250,000.00

                                                                                                                                                                            United
3                                                          Deborah     Camille       Cremona                  US          Godwin    Orville    Forde                                      9/11/2001      NY       18cv12276    18cv12276, 1 at 7        9761 at 3           Spouse               N/A              N/A     $12,500,000.00
                                                                                                                                                                           Kingdom
4                                                          Catherine    Hartz          Allen                  US           John     Clinton    Hartz                          US          9/11/2001      NY       02cv06977   02cv06977, 465 at 11      9451 at 3            Child               N/A              N/A      $8,500,000.00
5                                                            John      Clinton         Hartz     Jr.          US           John     Clinton    Hartz                          US          9/11/2001      NY       02cv06977   02cv06977, 465 at 11      9451 at 3            Child               N/A              N/A      $8,500,000.00


6                                                          Christine                 Kuveikis                 US          Thomas    Joseph    Kuveikis                        US          9/11/2001      NY       21cv10239    21cv10239, 1 at 6          N/A               Sibling              N/A              N/A      $4,250,000.00


7     Michael                     McGuire                  Terrence    Joseph        McGuire                  US          Patrick   Joseph    McGuire                         US          9/11/2001      NY       19cv11776    19cv11776, 5 at 5     9723 at 3, 9732   Sibling (Deceased)        N/A              N/A      $4,250,000.00
8     Anthony          F.          Russo                   Anthony        S.          Russo                   US          Michael   Thomas     Russo                          US          9/11/2001      NY       18cv12387    18cv12387, 1 at 1       9721 at 3       Parent (Deceased)         N/A              N/A      $8,500,000.00




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